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IN THE UNITED STATES DISTRICT COURT

AMARILLO DIVISION
UNITED STATES OF AMERICA §
Plaintiff,
v. 2:20-CR-50-Z-BR-(1)
MARCO ARMANDO MANZO, JR.
Defendant. :

ORDER ADOPTING REPORT AND RECOMMENDATION
CONCERNING PLEA OF GUILTY

On September 17, 2020, the United States Magistrate Judge issued a Report and
Recommendation Concerning Plea of Guilty (“Report and Recommendation”) in the above referenced
cause. Defendant Marco Armando Manzo, Jr. filed no objections to the Report and Recommendation
within the fourteen-day period set forth in 28 U.S.C. § 636(b)(1). The Court independently examined
all relevant matters of record in the above referenced cause—including the elements of the offense,
Factual Resume, Plea Agreement, and Plea Agreement Supplement—and thereby determined that the
Report and Recommendation is correct. Therefore, the Report and Recommendation is hereby
ADOPTED by the United States District Court. Accordingly, the Court hereby FINDS that the guilty
plea of Defendant Marco Armando Manzo, Jr. was knowingly and voluntarily entered; ACCEPTS the
guilty plea of Defendant Marco Armando Manzo, Jr.; and ADJUDGES Defendant Marco Armando
Manzo, Jr. guilty of Count One in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2). Sentence will be

imposed in accordance with the Court’s sentencing scheduling order.

SO ORDERED, October 5 , 2020.

 

MAA THEW J. KACSMARYK
ITED STATES DISTRICT JUDGE

 
